Case 1:25-cv-01111-EGS   Document 13-8   Filed 04/22/25   Page 1 of 5




                         Exhibit 5
Case 1:25-cv-01111-EGS       Document 13-8               Filed 04/22/25   Page 2 of 5




                                                                                        ﻿




                Project 2025
                  P R ESI D EN T I A L T R A N S I TI O N P R OJE C T
Case 1:25-cv-01111-EGS             Document 13-8           Filed 04/22/25         Page 3 of 5




                                                                                      2


                                              EXECUTIVE OFFICE
                                               OF THE PRESIDENT
                                           OF THE UNITED STATES
                                                                       Russ Vought




   I
         n its opening words, Article II of the U.S. Constitution makes it abundantly
         clear that “[t]he executive power shall be vested in a President of the United
         States of America.”1 That enormous power is not vested in departments or




                                                                                                ﻿
   agencies, in staff or administrative bodies, in nongovernmental organizations or
   other equities and interests close to the government. The President must set and
   enforce a plan for the executive branch. Sadly, however, a President today assumes
   office to find a sprawling federal bureaucracy that all too often is carrying out its
   own policy plans and preferences—or, worse yet, the policy plans and preferences
   of a radical, supposedly “woke” faction of the country.
      The modern conservative President’s task is to limit, control, and direct the
   executive branch on behalf of the American people. This challenge is created
   and exacerbated by factors like Congress’s decades-long tendency to delegate its
   lawmaking power to agency bureaucracies, the pervasive notion of expert “inde-
   pendence” that protects so-called expert authorities from scrutiny, the presumed
   inability to hold career civil servants accountable for their performance, and the
   increasing reality that many agencies are not only too big and powerful, but also
   increasingly weaponized against the public and a President who is elected by the
   people and empowered by the Constitution to govern.
      In Federalist No. 47, James Madison warned that “[t]he accumulation of all powers,
   legislative, executive, and judiciary, in the same hands, whether of one, a few, or many,
   and whether hereditary, self-appointed, or elective, may justly be pronounced the
   very definition of tyranny.”2 Regrettably, that wise and cautionary note describes
   to a significant degree the modern executive branch, which—whether controlled


                                          — 43 —
    Case 1:25-cv-01111-EGS             Document 13-8           Filed 04/22/25         Page 4 of 5

                      Mandate for Leadership: The Conservative Promise


       by the bureaucracy or by the President—writes federal policy, enforces that policy,
       and often adjudicates whether that policy was properly drafted and enforced. The
       overall situation is constitutionally dire, unsustainably expensive, and in urgent need
       of repair. Nothing less than the survival of self-governance in America is at stake.
           The great challenge confronting a conservative President is the existential need
       for aggressive use of the vast powers of the executive branch to return power—
       including power currently held by the executive branch—to the American people.
       Success in meeting that challenge will require a rare combination of boldness and
       self-denial: boldness to bend or break the bureaucracy to the presidential will and
       self-denial to use the bureaucratic machine to send power away from Washington
       and back to America’s families, faith communities, local governments, and states.
           Fortunately, a President who is willing to lead will find in the Executive Office
       of the President (EOP) the levers necessary to reverse this trend and impose a
       sound direction for the nation on the federal bureaucracy. The effectiveness of
       those EOP levers depends on the fundamental premise that it is the President’s
       agenda that should matter to the departments and agencies that operate under his
       constitutional authority and that, as a general matter, it is the President’s chosen
       advisers who have the best sense of the President’s aims and intentions, both with
       respect to the policies he intends to enact and with respect to the interests that
       must be secured to govern successfully on behalf of the American people. This
       chapter focuses on key features of and recommendations for several of the EOP’s
﻿




       important components.

       U.S. OFFICE OF MANAGEMENT AND BUDGET (OMB)
           OMB assists the President in the execution of his policy agenda across the gov-
       ernment by employing many statutory and executive procedural levers to bring
       the bureaucracy in line with all budgetary, regulatory, and management decisions.
       Properly understood, it is a President’s air-traffic control system with the abil-
       ity and charge to ensure that all policy initiatives are flying in sync and with the
       authority to let planes take off and, at times, ground planes that are flying off course.
       OMB’s key roles include:

       l   Developing and enforcing the President’s budget and executing the
           appropriations laws that fund the government;

       l   Managing agency and personnel performance, procurement policy,
           financial management, and information technology;

       l   Developing the President’s regulatory agenda, reviewing new regulatory
           actions, reviewing federal information collections, and setting and enforcing
           federal information policy; and


                                              — 44 —
Case 1:25-cv-01111-EGS             Document 13-8           Filed 04/22/25         Page 5 of 5

                           2025 Presidential Transition Project


   l   Coordinating and clearing agency communications with Congress,
       including testimonies and views on draft legislation.

       OMB cannot perform its role on behalf of the President effectively if it is not inti-
   mately involved in all aspects of the White House policy process and lacks knowledge
   of what the agencies are doing. Internally to the EOP, ensuring that the policy-for-
   mulation procedures developed by the White House to serve the President include
   OMB is one of any OMB Director’s major responsibilities. A common meme of those
   who intend to evade OMB review is to argue that where “resources” are not being
   discussed, OMB’s participation is optional. This ignores both OMB’s role in all down-
   stream execution and the reality that it has the only statutory tools in the White
   House that are powerful enough to override implementing agencies’ bureaucracies.
       The Director must view his job as the best, most comprehensive approxima-
   tion of the President’s mind as it pertains to the policy agenda while always being
   ready with actual options to effect that agenda within existing legal authorities and
   resources. This role cannot be performed adequately if the Director acts instead as
   the ambassador of the institutional interests of OMB and the wider bureaucracy
   to the White House. Once its reputation as the keeper of “commander’s intent”
   is established, then and only then does OMB have the ability to shape the most
   efficient way to pursue an objective.
       Externally, the Director must ensure that OMB has sufficient visibility into




                                                                                                ﻿
   the deep caverns of agency decision-making. One indispensable statutory tool to
   that end is to ensure that policy officials—the Program Associate Directors (PADs)
   managing the vast Resource Management Offices (RMOs)—personally sign what
   are known as the apportionments. In 1870, Congress passed the Anti-Deficiency
   Act3 to prevent the common agency practice of spending down all appropriated
   funding, creating artificial funding shortfalls that Congress would have to fill. The
   law mandated that all funding be allotted or “apportioned” in installments. This
   process, whereby agencies come to OMB for allotments of appropriated funding, is
   essential to the effective financial stewardship of taxpayer dollars. OMB can then
   direct on behalf of a President the amount, duration, and purpose of any appor-
   tioned funding to ensure against waste, fraud, and abuse and ensure consistency
   with the President’s agenda and applicable laws.
       The vast majority of these apportionments were signed by career officials—the
   Deputy Associate Directors (DADs)—until the Trump Administration placed this
   responsibility in the hands of the PADs and thereby opened wide vistas of oversight
   that had escaped the attention of policy officials. The Biden Administration sub-
   sequently reversed this decision. No Director should be chosen who is unwilling
   to restore apportionment decision-making to the PADs’ personal review, who is
   not aggressive in wielding the tool on behalf of the President’s agenda, or who is
   unable to defend the power against attacks from Congress.


                                          — 45 —
